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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

  ------------------------------------------------------------------------x
   Angela Bentrim,

                              Plaintiff,                                      C.A. No.: 9:21-cv-82096




            -against-                                                         DEMAND FOR JURY TRIAL

   Experian Information Solutions, Inc.,
   The Bank of Missouri,

                              Defendant(s).
  ------------------------------------------------------------------------x

                                                  COMPLAINT
          Plaintiff Angela Bentrim ("Plaintiff"), by and through her attorneys, and as for her

  Complaint against Defendant Experian Information Services, Inc., (“Experian”) and Defendant

  The Bank of Missouri (“BOM”) respectfully sets forth, complains, and alleges, upon information

  and belief, the following:

                                        JURISDICTION AND VENUE

      1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1367, as well as 15

          U.S.C. § 1681p et seq.

      2. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2), being that the

          acts and transactions occurred here, Plaintiff resides here, and Defendant transacts

          business here.

      3. Plaintiff brings this action for damages arising from the Defendant's violations of 15

          U.S.C. § 1681 et seq., commonly known as the Fair Credit Reporting Act (“FCRA”).

                                                     PARTIES
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     4. Plaintiff is a resident of the State of Florida, County of Palm Beach.


     5. At all times material hereto, Plaintiff was a “consumer” as said term is defined under 15

        U.S.C. § 1681a(c).


     6. Defendant Experian Information Solutions, Inc., is a consumer reporting agency as

        defined by 15 U.S.C. § 1681a(f) and conducts substantial and regular business activities

        in this judicial district. Defendant Experian is an Ohio corporation registered to do

        business in the State of Florida, and may be served with process upon the CT Corporation

        System, its registered agent for service of process at 1200 S. Pine Island Road, Plantation,

        FL 33324.


     7. At all times material here to Experian is a consumer reporting agency regularly engaged

        in the business of assembling, evaluating and disbursing information concerning

        consumers for the purpose of furnishing consumer reports, as said term is defined under

        15 U.S.C. § 1681(d) to third parties.

     8. At all times material hereto, Experian disbursed such consumer reports to third parties

        under a contract for monetary compensation.

     9. Defendant The Bank of Missouri is a person who furnishes information to consumer

        reporting agencies under 15 U.S.C. § 1681s-2 with an address at 906 N. Kingshighway,

        Perryville, MO, 63775.

                                   FACTUAL ALLEGATIONS

     10. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

        though fully stated herein with the same force and effect as if the same were set forth at

        length herein.
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                                         BOM Dispute and Violation

     11. On information and belief, on a date better known to Defendant Experian, Experian

        prepared and issued credit reports concerning the Plaintiff that included inaccurate and

        misleading information relating to Plaintiff’s BOM account (Account # 901008xxxx).

     12. The inaccurate information furnished by Defendant BOM and published by Experian was

        inaccurate and misleading since the account contains an incorrect account current status

        of “150 days past due.”

     13. Upon information and belief, the Plaintiff’s account was closed and transferred to another

        lender.

     14. Despite this, and the fact that the Plaintiff no longer had an obligation to BOM,

        Defendants continue to report the Plaintiff’s current payment status as “150 days past

        due.”

     15. The pay status is of significance. This field is specifically designed to be understood as

        the current status of the account. As such credit scoring algorithms take this data field

        into account when generating a credit score, and when it is showing as “charged off” it

        would cause a lower credit score to generate than a closed status.

     16. In almost all instances creditors make their credit lending decisions based on these

        automatically generated credit scores.

     17. For this reason, it is not appropriate to state that when the report as read as a whole

        contains enough information as to not harm the consumer, since the harm to the credit

        score is happening automatically with this false information.
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     18. Experian has been reporting this inaccurate information through the issuance of false and

        inaccurate credit information and consumer reports that it has disseminated to various

        persons and credit grantor, both known and unknown.

     19. Plaintiff notified Experian that she disputed the accuracy of the information Experian was

        reporting on or around April 23, 2021.

     20. In this dispute the Plaintiff explained that her account was closed and transferred to

        another lender and should no longer be reporting as “150 days past due.”

     21. It is believed and therefore averred that Experian notified Defendant BOM of the

        Plaintiff’s dispute.

     22. Upon receipt of the dispute of notification regarding the account from the Plaintiff by

        Experian, Defendant BOM failed to conduct a reasonable investigation and continued to

        report false and inaccurate adverse information on Plaintiff’s consumer report with

        respect to the disputed account.

     23. Had BOM done a proper investigation it would have been revealed to BOM that the

        current payment status was improperly listed as “150 days past due.”

     24. Despite the dispute by the Plaintiff that the information on her consumer report was

        inaccurate with respect to the disputed BOM account, Experian did not evaluate or

        consider any of the information, claims, or evidence of the Plaintiff and did not make a

        reasonable attempt to verify that the derogatory information concerning the disputed

        account was inaccurate.

     25. Experian violated 15 U.S. Code § 1681i (a)(1)(A) by failing to conduct a reasonable

        investigation and by failing to delete or correct the disputed trade line within 30 days of

        receiving Plaintiff’s dispute letter.
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     26. Notwithstanding Plaintiff’s efforts, Defendants continued to publish and disseminate such

        inaccurate information to other third parties, persons, entities and credit grantors, as

        evidenced by the inquiries on the Plaintiff’s credit report in the form of hard and soft

        pulls.

     27. As a result of Defendant’s failure to comply with the FCRA, the Plaintiff suffered

        concrete harm in the form of loss of credit, loss of ability to purchase and benefit from

        credit, a chilling effect on applications for future credit, and the mental and emotional

        pain, anguish, humiliation and embarrassment of credit denial.

                                FIRST CAUSE OF ACTION

                         (Willful Violation of the FCRA as to Experian)
     28. Plaintiff incorporates by reference paragraphs 1-27 of this Complaint as though fully

        stated herein with the same force and effect as if the same were set forth at length herein.


     29. This is an action for willful violation of the Fair Credit Reporting Act U.S.C. § 1681 et seq.

     30. Experian violated 15 U.S.C. § 1681e by failing to establish or to follow reasonable

        procedures to assure maximum possible accuracy in the preparation of the credit report and

        credit files that Experian maintained concerning the Plaintiff.

     31. Experian has willfully and recklessly failed to comply with the Act. The failure of Experian

        to comply with the Act include but are not necessarily limited to the following:

                 a) The failure to follow reasonable procedures to assure the maximum possible

                    accuracy of the information reported;

                 b) The failure to correct erroneous personal information regarding the Plaintiff

                    after a reasonable request by the Plaintiff;
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                c) The failure to remove and/or correct the inaccuracy and derogatory credit

                    information after a reasonable request by the Plaintiff;

                d) The failure to promptly and adequately investigate information which

                    Defendant Experian had notice was inaccurate;

                e) The continual placement of inaccurate information into the credit report of the

                    Plaintiff after being advised by the Plaintiff that the information was inaccurate;

                f) The failure to continuously note in the credit report that the Plaintiff disputed

                    the accuracy of the information;

                g) The failure to promptly delete information that was found to be inaccurate, or

                    could not be verified, or that the source of information had advised Experian to

                    delete;

                h) The failure to take adequate steps to verify information Experian had reason to

                    believe was inaccurate before including it in the credit report of the consumer.

     32. As a result of the conduct, action and inaction of Experian, the Plaintiff suffered damage

        by loss of credit, loss of ability to purchase and benefit from credit, and the mental and

        emotional pain, anguish, humiliation and embarrassment of credit denial.

     33. The conduct, action and inaction of Experian was willful rendering Experian liable for

        actual, statutory and punitive damages in an amount to be determined by a Judge and/or

        Jury pursuant to 15 U.S.C. § 1681n.

     34. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Experian in an

        amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.
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     WHEREFORE, Plaintiff, Angela Bentrim, an individual, demands judgment in her favor

  against Defendant, Experian, for damages together with attorney’s fees and court costs pursuant

  to 15 U.S.C. § 1681n.

                                  SECOND CAUSE OF ACTION
                          (Negligent Violation of the FCRA as to Experian)
     35. Plaintiff incorporates by reference paragraphs 1-27 of this Complaint as though fully

         stated herein with the same force and effect as if the same were set forth at length herein.


     36. This is an action for negligent violation of the Fair Credit Reporting Act U.S.C. § 1681 et

         seq.

     37. Experian violated 15 U.S.C. § 1681i(a) by failing to delete inaccurate information from the

         credit file of the Plaintiff after receiving actual notice of such inaccuracies and conducting

         reinvestigation and by failing to maintain reasonable procedures with which to verify the

         disputed information in the credit file of the Plaintiff.

     38. Experian has negligently failed to comply with the Act. The failure of Experian to comply

         with the Act include but are not necessarily limited to the following:

                 a) The failure to follow reasonable procedures to assure the maximum possible

                     accuracy of the information reported;

                 b) The failure to correct erroneous personal information regarding the Plaintiff

                     after a reasonable request by the Plaintiff;

                 c) The failure to remove and/or correct the inaccuracy and derogatory credit

                     information after a reasonable request by the Plaintiff;

                 d) The failure to promptly and adequately investigate information which

                     Defendant Experian had notice was inaccurate;
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                e) The continual placement of inaccurate information into the credit report of the

                    Plaintiff after being advised by the Plaintiff that the information was inaccurate;

                f) The failure to continuously note in the credit report that the Plaintiff disputed

                    the accuracy of the information;

                g) The failure to promptly delete information that was found to be inaccurate, or

                    could not be verified, or that the source of information had advised Experian to

                    delete;

                h) The failure to take adequate steps to verify information Experian had reason to

                    believe was inaccurate before including it in the credit report of the consumer.

     39. As a result of the conduct, action and inaction of Experian, the Plaintiff suffered damage

         by loss of credit, loss of ability to purchase and benefit from credit, and the mental and

         emotional pain, anguish, humiliation and embarrassment of credit denial.

     40. The conduct, action and inaction of Experian was negligent, entitling the Plaintiff to

         damages under 15 U.S.C. § 1681o.

     41. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Experian in an

         amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and 1681o.

     WHEREFORE, Plaintiff, Angela Bentrim, an individual, demands judgment in her favor

  against Defendant, Experian, for damages together with attorney’s fees and court costs pursuant

  to 15 U.S.C. § 1681o.

                                   THIRD CAUSE OF ACTION
                          (Willful Violation of the FCRA as to BOM)

     42. Plaintiff incorporates by reference paragraphs 1-27 of this Complaint as though fully

         stated herein with the same force and effect as if the same were set forth at length herein.
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     43. This is an action for willful violation of the Fair Credit Reporting Act U.S.C. § 1681 et seq.

     44. Pursuant to the Act, all persons who furnished information to reporting agencies must

        participate in re-investigations conducted by the agencies when consumers dispute the

        accuracy and completeness of information contained in a consumer credit report.

     45. Pursuant to the Act, a furnisher of disputed information is notified by the reporting agency

        when the agency receives a notice of dispute from a consumer such as the Plaintiff. The

        furnisher must then conduct a timely investigation of the disputed information and review

        all relevant information provided by the agency.

     46. The results of the investigation must be reported to the agency and, if the investigation

        reveals that the original information is incomplete or inaccurate, the information from a

        furnisher such as the Defendant must be reported to other agencies which were supplied

        such information.

     47. The Defendant BOM violated 15 U.S.C. § 1681s-2 failing to fully and properly investigate

        the dispute of the Plaintiff; by failing to review all relevant information regarding same by

        failing to correctly report results of an accurate investigation to the credit reporting

        agencies.

     48. Specifically, the Defendant BOM continued to report this account on the Plaintiff’s credit

        report after being notified of her dispute regarding the current payment status still being

        listed as “150 days past due.”

     49. As a result of the conduct, action and inaction of the Defendant BOM, the Plaintiff suffered

        damage for the loss of credit, loss of the ability to purchase and benefit from credit, a

        chilling and detrimental effect on future applications for credit, and the mental and

        emotional pain, anguish, humiliation and embarrassment of credit denials.
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      50. The conduct, action and inaction of Defendant BOM was willful, rendering Defendant

          BOM liable for actual, statutory and punitive damages in an amount to be determined by a

          jury pursuant to 15 U.S.C. § 1681n.

      51. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Defendant

          BOM in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

      WHEREFORE, Plaintiff, Angela Bentrim, an individual, demands judgment in her favor

   against Defendant BOM for damages together with attorney’s fees and court costs pursuant to 15

   U.S.C. § 1681n.

                                  FOURTH CAUSE OF ACTION
                           (Negligent Violation of the FCRA as to BOM)
      52. Plaintiff incorporates by reference paragraphs 1-27 of this Complaint as though fully

          stated herein with the same force and effect as if the same were set forth at length herein.


      53. This is an action for negligent violation of the Fair Credit Reporting Act U.S.C. § 1681 et

          seq.

      54. Pursuant to the Act, all person who furnished information to reporting agencies must

          participate in re-investigations conducted by the agencies when consumers dispute the

          accuracy and completeness of information contained in a consumer credit report.

      55. Pursuant to the Act, a furnisher of disputed information is notified by the reporting agency

          when the agency receives a notice of dispute from a consumer such as the Plaintiff. The

          furnisher must then conduct a timely investigation of the disputed information and review

          all relevant information provided by the agency.

      56. The results of the investigation must be reported to the agency and, if the investigation

          reveals that the original information is incomplete or inaccurate, the information from a
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          furnisher such as the Defendant must be reported to other agencies which were supplied

          such information.

      57. Defendant BOM is liable to the Plaintiff for failing to comply with the requirements

          imposed on furnishers of information pursuant to 15 U.S.C. § 1681.

      58. After receiving the Dispute Notice from Experian, Defendant BOM negligently failed to

          conduct its reinvestigation in good faith.

      59. A reasonable investigation would require a furnisher such as Defendant BOM to consider

          and evaluate a specific dispute by the consumer, along with all other facts, evidence and

          materials provided by the agency to the furnisher.

      60. Had BOM done a reasonable investigation it would have found that the current payment

          status of this account is inaccurate and false.

      61. The conduct, action and inaction of Defendant BOM was negligent, entitling the Plaintiff

          to recover actual damages under 15 U.S.C. § 1681o.

      62. As a result of the conduct, action and inaction of the Defendant BOM, the Plaintiff suffered

          damage for the loss of credit, loss of the ability to purchase and benefit from credit, a

          chilling effect on future applications for credit, and the mental and emotional pain, anguish,

          humiliation and embarrassment of credit denials.

      63. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from the Defendant

          BOM in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and

          1681o.

      WHEREFORE, Plaintiff, Angela Bentrim, an individual, demands judgment in her favor

   against Defendant BOM, for damages together with attorney’s fees and court costs pursuant to 15

   U.S.C. § 1681o.
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                                   DEMAND FOR TRIAL BY JURY

      64. Plaintiff demands and hereby respectfully requests a trial by jury for all claims and issues

         this complaint to which Plaintiff is or may be entitled to a jury trial.



                                      PRAYER FOR RELIEF

   WHEREFORE, Plaintiff demands judgment from each Defendant as follows:

         a) For actual damages provided and pursuant to 15 U.S.C. § 1681o(a) be awarded for

             each negligent violation as alleged herein;

         b) For actual damages provided and pursuant to 15 U.S.C. § 1640(a)(1);

         c) For Statutory damages provided and pursuant to 15 U.S.C. § 1681n(a);

         d) For Statutory damages provided and pursuant to 15 U.S.C. § 1640(a)(2);

         e) For Punitive damages provided and pursuant to 15 U.S.C. § 1681n(a)(2);

         f) For attorney fees and costs provided and pursuant to 15 U.S.C. § 1681n(a)(3), 15

             U.S.C. § 1681o(a)(2) and 15 U.S.C. § 1640(a)(3);

         g) For any such other and further relief, as well as further costs, expenses and

             disbursements of this action as this Court may deem just and proper.



   Dated: November 18, 2021                                     Respectfully Submitted,

                                                                ZEIG LAW FIRM, LLC
                                                                /s/ Justin Zeig
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                                                                Hollywood, FL 33021
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